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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                   ALEXANDRIA DIVISION


   UNITED STATES, et al.,

                          Plaintiffs,

          v.
                                                           No. 1:23-cv-00108-LMB-JFA
   GOOGLE LLC,

                          Defendant.


       DECLARATION OF ANDREW CASALE IN SUPPORT OF NON-PARTY INDEX
              EXCHANGE INC.’S RESPONSE TO MOTIONS TO SEAL

   I, Andrew Casale, hereby declare:

          1.      I am the President and Chief Executive Officer of non-party Index Exchange Inc.

   (“Index”). I make this declaration on my own personal knowledge pursuant to Local Civil Rule

   5(C) in support of Index’s Memorandum of Law in Response to the Motions to Seal filed by

   Plaintiffs and Defendant Google LLC (“Google” and together with Plaintiffs, the “Parties”)

   (ECF Nos. 605, 642, 661, 667, 712, 715, 738) (collectively, the “Motions to Seal”). I have

   personal knowledge of the facts in this declaration or base them on business records which I have

   reviewed or descriptions provided by the Parties’ counsel regarding the sealed filings. If called

   as a witness, I could and would competently testify to the facts stated herein.

          2.      Through my role as the President and CEO of Index, I am personally familiar

   with Index’s business and financial records and Index’s recordkeeping, including the sensitive

   and confidential nature of Index’s information. I am also familiar with Index’s business

   operations and strategies. Index keeps its financial and business information confidential in

   order to protect itself from competitive harm.




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          3.      Index has produced thousands of pages of documents and data in the above-

   captioned matter in response to multiple subpoenas that the Parties issued to Index. Index

   designated certain material in its productions as “confidential” or “highly confidential” pursuant

   to the Modified Protective Order (ECF No. 203). In addition, I provided deposition testimony in

   this matter on behalf of Index in response to deposition subpoenas that the Parties issued to

   Index. Index designated portions of the deposition testimony as confidential or highly

   confidential pursuant to the Modified Protective Order.

          4.      I understand that the Parties have filed conditionally under seal documents that

   contain information that Index produced and that Index designated as “confidential” or “highly

   confidential” pursuant to the Modified Protective Order in this action. As a non-party to the

   case, Index is not privy to the actual filings and I am not able to review them. Instead, I

   understand that counsel for the Parties went through a process of identifying each reference to

   Index’s confidential or highly confidential information, and prepared summaries of the

   references to Index’s confidential and highly confidential information contained in each

   document and exhibit filed by the Parties.

          5.      I have carefully reviewed the summaries prepared by the Parties to determine

   whether public disclosure of Index’s confidential information contained in the documents would

   cause Index competitive harm. Based on these summaries, I have concluded that some of the

   references to Index contained in the filings reflect Index’s confidential, highly sensitive

   proprietary information, including confidential financial information, and that the disclosure of

   this information would damage Index’s competitive standing. These references include

   confidential, highly sensitive strategic and proprietary information about Index’s customer

   pricing, financial results, transactional data, and technical capabilities. Index is not seeking to




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   maintain under seal the vast majority of the Parties’ references to Index’s confidential

   documents, data, and deposition testimony. Index does not believe that the balance of the

   references need to remain sealed and consents to disclosure of information that is not

   confidential or proprietary. Instead, Index is only seeking to maintain under seal this limited set

   of specific, highly sensitive proprietary data points.

          6.      Index is a privately held company and does not publicly release proprietary

   financial and business information concerning its customer pricing, financial results,

   transactional data, or technical capabilities. Index takes create great care to maintain the

   confidentiality of this highly sensitive proprietary information, including through the use of

   confidentiality agreements. Disclosure of this highly sensitive information would cause

   significant injury to Index and put it at a disadvantage against competitors, who would be armed

   with non-public knowledge of Index’s business and financial status.

          7.      In particular, according to the summaries that I have reviewed, the references to

   Index contained in the documents filed by the Parties include highly sensitive proprietary

   information regarding: (1) Index’s “take rates” (the fees that Index has negotiated with its

   publisher customers); (2) the number of integrations Index has achieved with demand-side

   platforms; (3) breakdowns of Index’s transactional data, including the number or percentage of

   transactions within certain categories; (4) Index’s revenues, including gross revenues, net

   revenues, and revenue share; (5) Index’s shares of ad exchange fees and impressions among ad

   exchanges; and (6) Index’s spending per impression. The disclosure of these highly sensitive

   detailed, specific, proprietary data points about Index’s business – none of which are public –

   would cause significant harm to Index’s competitive standing, including reducing Index’s ability

   to succeed against its competitors and making Index vulnerable to acquisition.




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          8.      As a non-party to this action, Index has cooperated with extensive requests for its

   documents and data. Disclosing Index’s proprietary non-public information as a consequence of

   that cooperation would profoundly adversely impact Index. Indeed, the disclosure of this

   information, including Index’s non-public fees and the volume of its transactions in certain

   markets, could cause more harm to Index than the alleged anti-competitive behavior that is the

   focus of this lawsuit. If the purpose of this lawsuit is to preserve (or even increase) competition

   in the advertising technology market, disclosing Index’s proprietary information, equipping

   competitors to either undercut or acquire Index, would have the opposite effect. Indeed, the

   disclosure of this information, including Index’s non-public take rates and the volume of its

   transactions in certain markets, could cause more harm to Index than the alleged anti-competitive

   behavior that is the focus of this lawsuit.

          9.      Further, the public disclosure of Index’s take rates would also injure Index’s

   critical and long-fostered relationships with publishers. If Index’s take rates became public as a

   result of this lawsuit, every publisher with a negotiated take rate higher than Index’s disclosed

   average take rate would ask to renegotiate its current take rate with Index, essentially seeking a

   discount. This result would directly harm Index’s business and competitive standing.

          10.     Based on the summaries prepared by the Parties that I have reviewed, I

   understand that Exhibit 1 to the Declaration of Bryon Becker in Support of Google LLC’s

   Motion for Summary Judgment and Motions to Exclude (the “Becker Declaration”), Excerpts

   from the Expert Report of Robin S. Lee on behalf of Plaintiffs in this case, dated December 22,

   2023, ECF No. 581-1, contains the following references to Index’s highly sensitive proprietary

   information, the public disclosure of which would harm Index’s competitive standing:

                  a.      Page 160 n.552 (reference to quantified share of Index’s transactions




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                     consisting of indirect open-web display impressions);

               b.    Page 199, Figure 47 (share of worldwide indirect open-web display

                     impressions transacted (2018-2022);

               c.    Page 200, Figure 48 (shares of worldwide indirect open-web display

                     impressions (2022);

               d.    Page 203, Figure 49 (net revenues from the sale of worldwide indirect

                     open-web display impressions (2018-2022);

               e.    Page 204, Figure 50 (share of ad exchange fees from worldwide indirect

                     open-web display transactions (2018-2022);

               f.    Page 205, Figure 51 (shares of ad exchange fees from worldwide indirect

                     open-web display transactions (2022);

               g.    Page 206 n.710 at 136:13-15 (number of demand-side platform

                     integrations supported by Index);

               h.    Page 210 n.724 GOOG-DOJ-11772703, at tab “Notes” (reference to

                     Index’s take rate);

               i.    Page 211 n.725 (reference to Index’s take rate);

               j.    Page 214, Figure 54 (Worldwide open-web indirect display take rates

                     (2018-2022);

               k.    Page 229 (reference to Index’s reductions in publisher payouts);

               l.    Page 230 n.796 (reference to quantified impact on publisher revenue);

               m.    D-4, Figure 91 (share of US indirect open-web display impressions

                     transacted (2018-2022); shares of US indirect open-web display

                     impressions among ad exchanges (2022);




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                  n.     D-5, Figure 92 (net revenues from the sale of US indirect open-web

                         display impressions (2018-2022);

                  o.     D-7, Figure 94 (shares of ad exchange fees from US indirect open-web

                         display transactions (2022);

                  p.     D-8, Figure 95 (worldwide indirect open-web display through ad

                         exchanges (2018-2022);

                  q.     D-9, Figure 96 (significant share of US indirect open-web display spend);

                  r.     E-2, Figure 110 (Summary of worldwide open-web indirect display take

                         rates);

                  s.     G-1, Figure 122 (share of worldwide indirect open-web display

                         impressions transacted (2018-2022);

                  t.     G-2, Figure 123 (share of ad exchange fees from worldwide indirect open-

                         web display transactions (2018-2022);

                  u.     G-3, Figure 124 (share of US indirect open-web display impressions

                         transacted (2018-2022); and

                  v.     G-4, Figure 125 (net revenues from the sale of US indirect open-web

                         display impressions (2018-2022).

          11.     Based on the summaries prepared by the Parties that I have reviewed, I

   understand that Exhibit 2 to the Becker Declaration, Excerpts from the Expert Report of Rosa M.

   Abrantes-Metz on behalf of Plaintiffs in this case, dated December 22, 2023, ECF No. 581-2,

   contains the following reference to Index’s highly sensitive proprietary information, the public

   disclosure of which would harm Index’s competitive standing:

                  a.     Page 242, Figure 30 (Ad Exchange Take Rates: Exchange rates from Jan




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                           18 to Nov 22).

          12.     Based on the summaries prepared by the Parties that I have reviewed, I

   understand that Exhibit 3 to the Becker Declaration, Excerpts from the Expert Rebuttal Report of

   Robin S. Lee on behalf of Plaintiffs in this case, dated February 13, 2024, ECF No. 581-3,

   contains the following reference to Index’s highly sensitive proprietary information, the public

   disclosure of which would harm Index’s competitive standing:

                  a.       B-26, Figure 88 (Worldwide spending and impressions on GAM open

                           bidding (2022).

          13.     Based on the summaries prepared by the Parties that I have reviewed, I

   understand that Exhibit 5 to the Becker Declaration, Excerpts from the Expert Report of Timothy

   Simcoe on behalf of Plaintiffs in this case, dated December 22, 2023, ECF No. 581-5, contains

   the following references to Index’s highly sensitive proprietary information, the public disclosure

   of which would harm Index’s competitive standing:

                  a.       Figure 4 (Effective Take Rate for Worldwide Open Web Display + Video

                           Outstream Impressions);

                  b.       Figure 7 (Average Spend per 1,000 Worldwide Impressions, 2018-2021);

                  c.       Figure 8 (Average CPM Versus Average Take Rate, By Exchange).

          14.     Based on the summaries prepared by the Parties that I have reviewed, I

   understand that the Memorandum of Law in Support of Google LLC’s Motion to Exclude the

   Testimony of Dr. Timothy Simcoe, ECF No. 579, contains the following references to Index’s

   highly sensitive proprietary information, the public disclosure of which would harm Index’s

   competitive standing:

                  a.       Page 6 n.4 (reference to Index’s take rate); and




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                  b.     Page 18 n.8 (reference to Index’s take rate).

          15.     Based on the summaries prepared by the Parties that I have reviewed, I

   understand that Exhibit 32 to the Becker Declaration, Excerpts from the transcript of the

   deposition of Ramamoorthi Ravi, expert witness on behalf of Plaintiffs in this case, taken

   February 20, 2024, ECF No. 583-2, contains a reference to Index’s highly sensitive proprietary

   technical capabilities, the public disclosure of which would harm Index’s competitive standing:

                  a.     193:25 (discussing Index’s capabilities).

          16.     Based on the summaries prepared by the Parties that I have reviewed, I

   understand that Exhibit 38 to the Becker Declaration, Expert Report of Judith A. Chevalier on

   behalf of Google in this case, dated January 23, 2024, ECF No. 583-8, contains the following

   references to Index’s highly sensitive proprietary information, the public disclosure of which

   would harm Index’s competitive standing:

                  a.     Figure 10 (Worldwide Average Revenue Shares of Competing Exchanges

                         Considered by Prof. Simcoe (Jan. 2019 – Mar. 2023), listing Index

                         revenue share percentage); and

                  b.     Figure 17 (Worldwide AdX and Competing Exchanges Gross Revenue

                         (Oct. 2018 – Sep. 2021) – Monthly Gross Revenue ($ Millions)).

          17.     Based on the summaries prepared by the Parties that I have reviewed, I

   understand that Exhibit 8 to Plaintiffs’ Opposition to Google’s Motion for Summary Judgment,

   Expert Report of Robin S. Lee, Ph.D., ECF No. 656-9, contains the following references to

   Index’s highly sensitive proprietary information, the public disclosure of which would harm

   Index’s competitive standing:

                  a.     Figure 47 (Index’s share of worldwide indirect open-web display




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                         impressions transacted through ad exchanges (2018–2022);

                  b.     Figure 48 (Index’s shares of worldwide indirect open-web display

                         impressions among ad exchange (2022)); and

                  c.     Figure 110 (Index worldwide open-web indirect display take rates from

                         2018 to 2022).

          18.     Based on the summaries prepared by the Parties that I have reviewed, I

   understand that Exhibit 27 to Plaintiffs’ Opposition to Google’s Motion for Summary Judgment,

   Expert Report of Rosa M. Abrantes-Metz, Ph.D., dated December 22, 2023, ECF No. 657-5,

   contains the following reference to Index’s highly sensitive proprietary information, the public

   disclosure of which would harm Index’s competitive standing:

                  a.     Paragraph 434 (describing Index’s technological capabilities).

          19.     Based on the summaries prepared by the Parties that I have reviewed, I

   understand that Exhibit 116 to Plaintiffs’ Opposition to Google’s Motion for Summary

   Judgment, Expert Rebuttal Report of Robin S. Lee, Ph.D., dated February 13, 2024, ECF Nos.

   665-20 and 673-16, contains the following references to Index’s highly sensitive proprietary

   information, the public disclosure of which would harm Index’s competitive standing:

                  a.     Figure 29 (Dr. Israel’s estimate of US ad exchange fees for indirect web

                         non-video advertising (2020-2022), showing Index fees and share of US

                         indirect open web display impressions for 2022); and

                  b.     Figure 30 (Index’s US indirect web non-video take rates relative to AdX

                         take rate (2020-2022)).

          20.     Based on the summaries prepared by the Parties that I have reviewed, I

   understand that Exhibit A to Plaintiffs’ Opposition to Google LLC’s Motion to Exclude the




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    Testimony of Dr. Timothy Simcoe, Expert Report of Timothy Simcoe, Ph.D., dated December

    22, 2023, ECF Nos. 640-1 and 644-1, contains the following references to Index’s highly

    sensitive proprietary information, the public disclosure of which would harm Index’s competitive

    standing:

                  a.      Figure 4 (Line graph indicating Index’s Effective Take Rate For

                          Worldwide Open Web Display + Video Outstream Impressions from 2014

                          to 2022);

                  b.      Figure 5 (Line graph indicating Index’s Worldwide Open Web Display

                          Impressions (billions) from 2014 to 2022);

                  c.      Figure 7 (Bar Graph showing Index’s Average Spend Per 1,000

                          Worldwide Impressions, 2018-2021 (“Average CPM”)); and

                  d.      Figure 8 (Scatter Plot of Average CPM Versus Average Take Rate, By

                          Exchange).

           21.    Based on the summaries prepared by the Parties that I have reviewed, I

    understand that Exhibit D to Plaintiffs’ Opposition to Google LLC’s Motion to Exclude the

    Testimony of Dr. Timothy Simcoe, Expert Report of Robin S. Lee, Ph.D., dated December 22,

    2023, ECF Nos. 640-4 and 644-4, contains the following references to Index’s highly sensitive

    proprietary information, the public disclosure of which would harm Index’s competitive

    standing:

                  a.      Figure 47 (Index’s share of worldwide indirect open-web display

                          impressions transacted through ad exchanges (2018–2022));

                  b.      Paragraph 754 n.1114 at 212:2-18 (assessment of competitor’s

                          capabilities); and




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                  c.        Figure 110 (Index worldwide open-web indirect display take rates from

                            2018 to 2022).

           22.    Based on the summaries prepared by the Parties that I have reviewed, I

    understand that Exhibit G to Plaintiffs’ Opposition to Google LLC’s Motion to Exclude the

    Testimony of Dr. Timothy Simcoe, Expert Rebuttal Report of Robin S. Lee, Ph.D., dated

    February 13, 2024, ECF Nos. 640-7 and 644-6, contains the following references to Index’s

    highly sensitive proprietary information, the public disclosure of which would harm Index’s

    competitive standing:

                  a.        n.723 (citing and quantifying worldwide weighted average CPM of

                            transactions on Index and citing ECF No. 640-4 at Fig. 110); and

                  b.        Figure 29 (Dr. Israel’s estimate of US ad exchange fees for indirect web

                            non-video advertising (2020-2022) showing Index’s fees and share of US

                            indirect open web display impressions for 2022).

           23.    Based on the summaries prepared by the Parties that I have reviewed, I

    understand that Exhibit O to Plaintiffs’ Opposition to Google LLC’s Motion to Exclude the

    Testimony of Dr. Timothy Simcoe, Expert Report of Judith A. Chevalier January 23, 2024, ECF

    Nos. 640-15 and 644-13, contains the following reference to Index’s highly sensitive proprietary

    information, the public disclosure of which would harm Index’s competitive standing:

                  a.        Figure 11 (Worldwide Monthly Average Revenue Shares (Jan. 2016 –

                            Mar. 2023) displaying Index’s monthly average revenue shares).

           24.    Based on the summaries prepared by the Parties that I have reviewed, I

    understand that Exhibit A to Plaintiffs’ Opposition to Defendant Google LLC’s Motion to

    Exclude the Testimony of Prof. Robin S. Lee, Expert Report of Robin S. Lee, Ph.D. dated




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    December 22, 2023, ECF Nos. 660-1 and 663-1, contains the following references to Index’s

    highly sensitive proprietary information, the public disclosure of which would harm Index’s

    competitive standing:

                  a.        Paragraph 345 n.498 (describing Index’s HHIs across bidding sources in

                            2022);

                  b.        Paragraph 396 n.552 (describing proportions of non-US user indirect

                            open-web display impressions transacted by Index);

                  c.        Figure 47 (displaying Index’s share of worldwide indirect open-web

                            display impressions transacted through ad exchanges (2018–2022));

                  d.        Figure 48 (displaying Index’s shares of worldwide indirect open-web

                            display impressions among ad exchange (2022));

                  e.        Figure 49 (Index net revenues from the sale of worldwide indirect open-

                            web display impressions (2018–2022));

                  f.        Figure 50 (Index’s share of ad exchange fees from worldwide indirect

                            open-web display transactions (2018–2022));

                  g.        Figure 51 (Index’s shares of ad exchange fees from worldwide indirect

                            openweb display transactions (2022));

                  h.        Paragraph 405 n.567 (percentage of 2022 indirect open-web display

                            impressions transacted by Index attributable to US publishers);

                  i.        Paragraph 548 (reference to Index publisher payouts);

                  j.        n.796 (reference to impact on Index publisher revenue);

                  k.        Figure 54 (Index’s take rates and share of worldwide open-web indirect

                            display market (2018–2022));




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                   l.     Figure 84 (Index impressions and spend by user and publisher location

                          (2022));

                   m.     Figure 86 (Index’s shares of indirect open-web display impressions by

                          user and publisher location);

                   n.     Figure 87 (relative shares of indirect open-web display fees by user

                          geography (US v. Non-US) and publisher location (US v. Non-US)); and

                   o.     Paragraph 496 n.710 at 136:13-15 (number of demand-side platform

                          integrations supported by Index).

           25.     The Parties have not provided the underlying documents containing these

    references to Index, and the documents were filed under seal or with redactions. As a result,

    Index has not had the opportunity to review the documents itself and locate every reference to

    Index’s highly sensitive proprietary information. As stated above, I have relied on the Parties’

    summaries to identify references to Index’s highly sensitive proprietary information.

    Accordingly, the designations contained herein may not be an exhaustive list of all instances of

    references to Index’s highly sensitive proprietary information contained within the filings.

           26.     Index requests that any references to its highly sensitive proprietary information

    (specifically, Index’s take rates, breakdowns of Index’s transaction data, Index’s revenues,

    shares of ad exchange fees, shares of impressions, Index’s spending per impression, and the

    number of integrations Index has achieved) contained within the Parties’ filings continue to

    remain under seal and that any such references be redacted in any public filings. The public

    disclosure of any of this highly sensitive proprietary information would cause significant harm to

    Index’s competitive standing.




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                     I declare under penalty of perjury under the laws of the United States of America that the

            foregoing is true and correct.

                     Executed on June __,
                                      12 2024




                                                             By:
                                                                   Andrew Casale
                                                                   President and Chief Executive Officer
                                                                   Index Exchange Inc.




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